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                   BEFORE THE UNITED STATES JUDICIAL PLANEL ON
                            MULTIDISTRICT LITIGATION


IN RE GOOGLE DIGITAL                      )                  MDL No. 3010
ADVERTISING ANTITRUST                     )
LITIGATION                                )
__________________________________________)


          PLAINTIFF RUMBLE CANADA INC.’S RESPONSE IN OPPOSITION TO
           MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-11)

         In accordance with 28 U.S.C. § 1407 and Rule 7.1 of the Rules of Procedure for the

United States Judicial Panel on Multidistrict Litigation, Plaintiff Rumble Canada Inc.

respectfully requests the Panel grant the order (CTO-11) conditionally transferring the action in

Rumble Canada Inc. v. Google LLC et al., No. 5:24-cv-02880 (N.D. Cal.) 1 (the “Rumble action”)

to the MDL Court in the United States District for the Southern District of New York (In re

Google Digital Advertising Antitrust Litigation, No. 1:21-md-3010-PKC (S.D.N.Y.)) 2 (the

“MDL”) and deny the Motion to Vacate filed by Defendants Google LLC and Alphabet Inc.

(“Google”).

                                        INTRODUCTION

         Transfer to MDL No. 3010 is appropriate for the Rumble action because it alleges claims

against Defendants that are nearly identical to those of the cases already centralized in the MDL.

As Rumble acknowledged in its Amended Complaint, allegations and claims in the Rumble

complaint “closely mirror several of those made in plaintiffs’ complaints in the MDL Case.” Am

Compl., N.D. Cal. ECF No. 23 at ¶ 3.




1
    Citations to ECF filings in the Rumble docket will be abbreviated to “N.D. Cal. ECF.”
2
    Citations to ECF filings in MDL docket will be abbreviated to “MDL ECF.”
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        There is no doubt (despite Google’s arguments to the contrary) that the Rumble action

involves multiple “common questions of fact” with those cases already centralized. 28 U.S.C. §

1407(a). Centralization of the Rumble action will serve to “promote the just and efficient

conduct” of both the Rumble action and the actions already centralized because it will ensure that

pretrial proceedings in the Rumble action are consistent with other cases that revolve around the

same allegations of Google’s anticompetitive conduct. 28 U.S.C. § 1407(a) (see also In re

Pineapple Antitrust Litig., 342 F. Supp. 2d 1348, 1349 (J.P.M.L. 2004) (“Centralization under

Section 1407 is thus necessary in order to […] prevent inconsistent pretrial rulings”). Although

fact discovery has closed for cases currently centralized, there are several months of pretrial

briefing still planned and any additional discovery needed for the Rumble action can take place

during this time.

                               PROCEDURAL BACKGROUND

        The MDL was established by the Panel in August 2021 as MDL No. 3010 under Judge

Castel in the Southern District of New York. See In re Digital Advertising Antitrust Litig., 555 F.

Supp. 3d 1372 (J.P.M.L. 2021). The panel found that centralization was proper because all the

pending actions “present common factual questions concerning the allegation that Google has

monopolized or suppressed competition in online display advertising services in violation of

federal antitrust law, whether that market is described singly as all display advertising services,

as components of display advertising, or as some larger spectrum of digital advertising.” Id. at

1375.

        Rumble filed its initial complaint in the Rumble action on May 13, 2024 in the United

States District Court for the Northern District of California. Compl. N.D. Cal. ECF No. 1.

Google filed a motion to dismiss Rumble’s complaint on August 1, 2024. Mot. to Dismiss, N.D.



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Cal. ECF No. 17. Rumble filed an amended complaint on August 22, 2024. Am Compl., N.D.

Cal. ECF No. 23. On September 11, 2024, Google filed a Notice of Potential Tag-Along Action.

Not. of Potential Tag-Along Action, In re: Google Digital Advertising Antitrust Litig., MDL No.

3010 (J.P.M.L. Sept. 11, 2024), ECF No. 262. 3 On September 13, 2024, the Clerk of the Panel

issued a Conditional Transfer Order (CTO-11). Cond. Transfer Or. (CTO-11), JPML ECF No.

263.

       Google filed a Motion to Dismiss Rumble’s Amended Complaint on September 26, 2024.

Mot. to Dismiss, N.D. Cal. ECF No. 34. That motion is still being briefed and is pending before

Judge Freeman in the Northern District of California. On October 7, 2024, Google filed its

opposition to the Conditional Transfer Order. JPML ECF No. 269. On October 21, 2024, Judge

Freeman granted an extension to the briefing schedule for Google’s Motion to Dismiss to allow

the JPML panel hearing on this CTO to take place before briefing is completed for the Motion to

Dismiss. N.D. Cal. ECF No. 37.

                                       LEGAL STANDARD

       The Panel may transfer a civil action “involving one or more common questions of fact”

when it determines that transfer “will be for the convenience of parties and witnesses and will

promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407(a). Transfer is

appropriate “if it furthers the expeditious resolution of the litigation taken as a whole, even if

some parties to the action might experience inconvenience or delay.” In re Aqueous Film-

Forming Foams Prod. Liab. Litig., 669 F. Supp. 3d 1375, 1380 (U.S. Jud. Pan. Mult. Lit. 2023).

While common factual questions are required, transfer under Section 1407 “does not require a




3
 Citations to ECF filings in the instant proceeding before the Panel will be abbreviated to
“JPML ECF.”
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complete identity or even majority of common factual issues as a prerequisite to transfer.” In re

Ins. Brokerage Antitrust Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005). In determining

whether transfer is appropriate, the Panel must “weigh the interests of all the plaintiffs and all the

defendants, and must consider multiple litigation as a whole in light of the purposes of the law.”

In re Nat. Student Mktg. Litig., 368 F. Supp. 1311, 1317 (J.P.M.L. 1972) (quoting In re Childrens’

Books Litigation, 297 F.Supp. 385, 386 (Jud.Pan.Mult.Lit.1968)).

                                           ARGUMENT

       The Rumble action features exactly the kinds of common factual questions that make

centralization under 28 U.S.C. § 1407 proper. The allegations in the Rumble complaint closely

mirror those of other plaintiffs against the same defendants in cases already centralized in the

MDL and will benefit from coordinated pretrial proceedings in front of Judge Castel. Google’s

arguments to the contrary attempt to misconstrue the allegations in the Rumble complaint, but

the plain language of the complaint establishes that common factual questions predominate over

any individualized questions that are specific to Rumble as a plaintiff.

       Despite fact discovery having closed in the MDL after Rumble filed its initial complaint,

there are many efficiencies to be gained through centralization and there is no prejudice to

Google if the case is centralized with similar cases already included in the MDL.

    1. The Rumble Action and the MDL Involve Common Questions of Fact

       Google argues in its Motion that the “Rumble action presents individual factual questions

that would predominate over the MDL’s common factual questions pertaining to online display

advertising.” Opp. at 2 JPML ECF 269-2. Google makes this argument by ignoring the

allegations in Rumble’s complaint and focusing on Rumble’s status as a video platform. Rumble

has alleged that Google “has been able unlawfully to obtain and maintain a monopoly in the

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online Ad Tech markets,” which are the same markets at issue in the MDL. Am Compl., N.D.

Cal. ECF No. 23 at ¶ 22.

       Rumble’s claims against Google include:

               (1) Monopolization in violation of Section II of the Sherman Act, 15 U.S.C. § 2,

                   in the market for publisher ad servers, ad exchanges, ad network, ad buying

                   tools for large advertisers, and ad buying tools for small advertisers. N.D. Cal.

                   ECF No. 23 at ¶ 283.

               (2) Attempted monopolization in violation of Section II of the Sherman Act, 15

                   U.S.C. § 2, in the market for publisher ad servers, ad exchanges, ad networks,

                   ad buying tools for large advertisers, and ad buying tools for small advertisers.

                   N.D. Cal. ECF No. 23 at ¶ 290.

               (3) Unlawful tying in violation of Sections I and II of the Sherman Act, 15 U.S.C.

                   §§ 1 and 2 between: Google’s ad server and exchange product (N.D. Cal. ECF

                   No. 23 at ¶ 298-302); Google’s ad buying tools (DV360 and Google Ads) and

                   YouTube (N.D. Cal. ECF No. 23 at ¶ 303-306); and Google Ads and Google’s

                   network and exchange products (N.D. Cal. ECF No. 23 at ¶ 307-311).

       These are precisely the types of claims that the Panel found contained common questions

of fact that would benefit from centralization in the MDL. In re Digital Advert. Antitrust Litig.,

555 F. Supp. 3d at 1375 (“All actions present common factual questions concerning the

allegation that Google has monopolized or suppressed competition in online display advertising

services in violation of federal antitrust law” and “the 17 actions asserting Section 2

monopolization claims raise additional common factual questions” including “alleged tying

arrangements between, inter alia, Google’s publisher ad server and Google’s ad exchange.”).

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       In its Opposition, Google makes the same failed argument it has raised in its pending

motion to dismiss Rumble’s amended complaint; that “Rumble does not plead that it transacted

in online display advertising at all.” Opp. at 9 JPML ECF 269-2. Google makes this argument by

ignoring the facts alleged in Rumble’s complaint that clearly establish Rumble participates in

online display advertising in several ways. First, Rumble is a publisher that “monetizes its

content through placing ads that are displayed […] alongside videos that appear on Rumble’s

platform.” N.D. Cal. ECF No. 23 at ¶ 19. Despite the arguments Google presents in its

Opposition, Google is aware that Rumble participates in display advertising because Rumble has

used Google’s own ad server product to serve display ads on Rumble.com since at least 2017.

See N.D. Cal. ECF No. 23 at ¶ 19 (“Rumble was a customer of Google’s ad server”). Rumble is

also a competitor to Google through its new advertising solution, Rumble Advertising Center

(“RAC”), that competes with Google’s ad server product for publisher customers seeking to

monetize their content through display and video advertisements. N.D. Cal. ECF No. 23 at ¶ 94-

95. Rumble has also alleged that it is an advertiser that has suffered from Google’s

anticompetitive conduct in the market for ad buying tools. N.D. Cal. ECF No. 23 at ¶ 112-113

(“These tools allow small advertisers such as Rumble to optimize for their own interests”).

       In addition to being contradicted by the allegations in the Complaint, Google’s arguments

are precisely the kind of market definition questions that should be handled with consistent

pretrial proceedings through the MDL Court. See In re Digital Advert. Antitrust Litig., 555 F.

Supp. 3d at 1375 (identifying common factual issues including “defining the relevant market for

online display advertising services” and “identifying the competitors in the market and their

market shares”).




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         Rumble’s claims (and status as an online video company) are nearly identical to those of

a specific case that the Panel transferred to the MDL last year. On February 1, 2023, the Panel

granted a Conditional Transfer Order for Inform v. Google LLC, et al., No. 1:19−05362,

centralizing it as part of the MDL over Google’s objection. See JPML ECF No. 227. Like

Rumble, Inform was an “online video company” that used Google’s ad server product to

“coordinate[] the placement of targeted ads within its videos.” MDL ECF No. 709 at 2-3. In its

complaint, Inform alleged Google violated antitrust laws to gain “control of ad tech tools to

dominate online advertising.” See JPML ECF No. 227 at 2. Like Rumble, Inform also alleged

that Google violated antitrust laws by “illegally conditioning the purchase of ads on its

subsidiary YouTube on Google’s ad-buying tools.” Inform Inc. v. Google LLC, No. 21-13289,

2022 WL 3703958, at *6 (11th Cir. Aug. 26, 2022).

         The Panel rejected Google’s argument that Inform’s video-based claims meant individual

questions of fact would predominate over common ones because Google “ignore[d] the plain

language of the complaint,” which included claims for relief that “overlap[ped] with the

monopolization and tying claims in the MDL.” JPML ECF No. 227 at 2. Judge Castel denied

Google’s Motion to Dismiss the Inform Complaint on March 7, 2024. In re Google Digital

Advert. Antitrust Litig., No. 21-MD-3010 (PKC), 2024 WL 988966, at *1 (S.D.N.Y. Mar. 7,

2024).

    2. Transfer of the Rumble Action Will Promote Efficiency

         Transfer of the Rumble action will promote efficiency because it will ensure that the

Rumble action and similar cases already centralized in the MDL will be subject to consistent

pretrial rulings, including Google’s currently pending motion to dismiss Rumble’s amended

complaint. One of the purposes of centralization under Section 1407 is to “prevent inconsistent

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pretrial rulings.” In re Pineapple Antitrust Litig., 342 F. Supp. 2d 1348, 1349 (J.P.M.L. 2004). In

originally forming this MDL, the panel stressed that “informal coordination appears inadequate

to address the risk of inconsistent rulings in this factually and legally complex litigation.” In re

Digital Advert. Antitrust Litig., 555 F. Supp. 3d at 1376-77. The most efficient manner of

ensuring that the Rumble action is subject to consistent rulings as similar cases is to centralize it

in the MDL. Because Rumble’s claims focus on the same conduct alleged by other plaintiffs

already centralized in the MDL, Judge Castel is already familiar with the detailed factual history

that is the subject of Rumble’s amended complaint and Google’s motion to dismiss.

       In its opposition, Google argues that transfer is inappropriate because fact discovery (but

not all discovery) is complete in the MDL. The cases that Google cites in support of its position

are inapposite. Google cites to In re A.H. Robins Co., Inc. “Dalkon Shield” IUD Products

Liability Litig., 505 F. Supp. 221 (J.P.M.L. 1981) for the proposition that new cases should not be

centralized when “common discovery had been completed in the transferee district.” JPML ECF

No. 269-2 at 5-6. But A.H. Robbins was much farther along than the current MDL; the transferee

judge had already “prepared a final pretrial order” which was “available to the parties, counsel

and judges involved” in the potential tag-along actions being considered for centralization. In re

A. H. Robins Co., Inc., 505 F. Supp. at 223. In contrast, Judge Castel has not issued a final

pretrial order and Google admits that “expert discovery is now underway” in the MDL and will

not conclude until next year. JPML ECF 269-2 at 6.

       Similarly, Google cites to In re: Checking Acct. Overdraft Litig., 818 F. Supp. 2d 1373

(U.S. Jud. Pan. Mult. Lit. 2011), but in that case both plaintiff and defendant objected to

centralization, and the panel noted that “each action” already centralized had already “been set

for trial.” Under the current Pretrial Order in this MDL, however, briefing on key pretrial issues,



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such as class certification, will not be completed until several months after the close of expert

discovery. MDL ECF No. 394 at 4.

       The Panel has previously ordered centralization even where fact discovery had been

mostly completed for some of the related cases. See In re Baby Food Mktg., Sales Pracs. & Prod.

Liab. Litig. (No. II), No. MDL 3101, 2024 WL 1597351, at *2 (U.S. Jud. Pan. Mult. Lit. Apr. 11,

2024) (Ordering centralization of cases where “much of the common discovery has already been

completed in two prior cases” to “eliminate any potential for duplicative discovery and

inconsistent pretrial rulings”). The Panel has found that “[t]ransferee judges have demonstrated

the ability to establish and effectively manage common and individual discovery tracks, thereby

realizing the benefits of centralization without delaying or compromising consideration of case-

specific issues.” In re Tylenol (Acetaminophen) Mktg., Sales Pracs. & Prod. Liab. Litig., 936 F.

Supp. 2d 1379 (U.S. Jud. Pan. Mult. Lit. 2013). There will be no loss of efficiency in this case

either because Judge Castel can permit Google and Rumble to take limited fact discovery

specific to this case without affecting the schedule of the other related cases. The Panel has

“repeatedly” stated that “a transferee judge can employ any number of techniques, such as

establishing separate discovery and motion tracks, to manage pretrial proceedings efficiently.” In

re Glucagon-Like Peptide-1 Receptor Agonists Prod. Liab. Litig., 717 F. Supp. 3d 1370, 1374

(U.S. Jud. Pan. Mult. Lit. 2024).

       Google attempts to distract from the efficiencies of centralization by noting that similar

claims have been the subject of litigations outside of the MDL brought by the United States

Department of Justice and several state Attorneys General. JPML ECF No. 269-2 at 5-6. But as

Google is aware, both of those cases cannot be centralized under the MDL because they are

antitrust actions “in which the United States or a State is a complainant.” 28 U.S.C. § 1407(g).



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Indeed, the matter in the Eastern District of Texas was originally centralized as part of the MDL

until recent amendments to Section 1407 necessitated its remand. In re Digital Advert. Antitrust

Litig., 555 F. Supp. 3d at 1379 (ordering state plaintiffs’ case be centralized).

       Google will suffer no prejudice from centralization of the Rumble action. While limited

factual discovery will be needed, the burden primarily will be on Rumble to produce discovery

because Google has already produced significant amounts of discovery to plaintiffs in the MDL.

Whatever minimal discovery is needed in addition to the discovery Google has already provided

to plaintiffs in the MDL can be conducted in a short period of time and centralization will

promote efficiency for discovery between the parties. After transfer to the MDL, Judge Castel

will be well positioned to rule on Google’s pending motion to dismiss, ensuring consistent

pretrial rulings with cases already centralized in the MDL. After resolving the motion to dismiss,

Judge Castel can grant Google and Rumble the ability to take fact discovery specific to Rumble’s

claims to “insure that the needs of the respective parties for any unique discovery” is

“accommodated concurrently with the common pretrial matters.” In re Westinghouse Elec. Corp.

Uranium Conts. Litig., 405 F. Supp. 316, 319 (J.P.M.L. 1975).

       After pretrial proceedings are complete, Judge Castel may find that remand of the case to

the transferor court is appropriate. Judge Castel is empowered by the Panel and Section 1407 to

remand the Rumble action, or any other actions already centralized, once inclusion in the MDL

“no longer serves the convenience of the parties and witnesses or promotes the just and efficient

conduct of this litigation.” JPML ECF No. 227 at 2. The Panel has routinely found that when

some “actions are further advanced than other actions” in an MDL “[i]t may well be that some

actions may be ready for trial in advance of” others, but “nothing in the nature of this Section

1407 centralization will impede the transferee court, whenever it deems appropriate, from



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recommending Section 1407 remand” for cases that are ready for trial. In re Katz Interactive Call

Processing Pat. Litig., 481 F. Supp. 2d 1353, 1355 (J.P.M.L. 2007) See also In re Rembrandt

Techs., LP, Pat. Litig., 493 F. Supp. 2d 1367, 1370 (J.P.M.L. 2007 (Finding centralization proper

where “the first-filed” was “somewhat further advanced than those in the other actions”).

       For these reasons, the Panel should grant the Conditional Transfer Order and deny

Google’s motion to vacate.




       Respectfully submitted, this 28th day of October 2024.

                                                    /s/ Mark Meador                  .
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